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                     IN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF GEORGIA

                                  AUGUSTA DIVISION

EUGENE GRIGGS and CAMERON
MADDOX,                                     )
                                            )
              Plaintiffs,                   )
                                            )
       v.                                   )           CV 117-089
                                            )
VERNEAL EVANS, Former Correctional          )
Officer; JANSON CREAGER, Correctional )
Officer; TREI BLUITT, Correctional Officer; )
                                            )
              Defendants.                   )
                                     __________

                                       ORDER
                                       __________

       Before the Court is Defendants’ Motion for Leave to Take the Deposition of an

Incarcerated Witness. (Doc. no. 116.) Defendants request leave of Court pursuant to Federal

Rule of Civil Procedure 30(a)(2)(B) to depose non-party witness Joseph T. Prince, who is

currently incarcerated at Augusta State Medical Prison in Grovetown, Georgia.         (Id.)

Plaintiffs and the Georgia Department of Corrections (“GDC”) do not oppose Defendants’

motion. (Id. at 3.) Upon consideration, the Court GRANTS Defendants’ motion for leave to

depose Mr. Prince, GDC inmate number 428429, pursuant to Federal Rule of Civil Procedure

30(a)(2)(B).

       SO ORDERED this 22nd day of April, 2019, at Augusta, Georgia.
